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 8

 9                          UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11

12     JORGE VALDES, individually and on                Case No. 8:20-cv-00469-JLS-DFM
       behalf of all others similarly situated,
13                                                      STIPULATION OF DISMISSAL
14                  Plaintiff,

15     v.
16

17     PREFERRED GROUP PROPERTIES,
18     INC.,

19                  Defendant.
20

21
            PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)
22

23    Plaintiff Jorge Valdes and Defendant Preferred Group Properties, Inc. hereby
24
      stipulate to the dismissal of this action with prejudice as to Plaintiff’s individual
25
      claims and without prejudice as to any other member of the putative class’s right to
26

27                                                1
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 1    bring claims, with each party to bear its own attorneys’ fees and costs.
 2
            1.     Plaintiff filed this action on March 9, 2020 alleging violations of the
 3

 4
      TCPA’s restrictions on unsolicited autodialed calls, calls to persons whose

 5    telephone numbers are registered on the National Do Not Call registry, and for
 6
      failure to institute proper procedures, including maintaining a list of persons who
 7

 8    request not to receive telemarketing calls.

 9          2.     Plaintiff moved to amend the complaint on November 16, 2020 to add
10
      Harcourts Prime Preferred’s President and owner as a Defendant. The motion was
11

12    denied on March 31, 2021.

13          3.     The parties reached a settlement agreement to resolve Plaintiff’s
14
      individual claims and filed a notice of settlement on May 10, 2021.
15

16          4.     The parties now seek to dismiss Plaintiff’s individual claims with

17    prejudice, and the class claims without prejudice.
18
            5.     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), an action may be dismissed
19

20    without leave of court where the parties stipulate to dismissal. Rule 41(a)(1) is
21    limited by Rule 23(e), governing settlement or dismissal of certified class actions.
22
            6.     However, because this action has not been certified as a class action,
23

24    Rule 23(e) review of any settlement or dismissal is inapplicable and unnecessary.
25    See Fed. R. Civ. P. 23(e) adv. comm. notes, 2003 amdts. at ¶ 16 (“The new rule
26
      requires approval only if the claims, issues, or defenses of a certified class are
27                                               2
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 1    resolved by a settlement, voluntary dismissal, or compromise”); see e.g., Duran v.
 2
      SPS Techs. LLC, No. LA CV19-07609 JAK (MRWx), 2020 U.S. Dist. LEXIS
 3

 4
      244782, at *3 (C.D. Cal. Dec. 30, 2020); Del Rio v. CreditAnswers, LLC, 2011 WL

 5    1869881 at *2 (S.D. Cal. No. 10CV346-WQH-BLM, May 16, 2011); Ramirez v.
 6
      Cintas Corp., 2009 WL 921629 (N.D. Cal. No. C04-00281-JSW, April 3, 2009);
 7

 8    accord 2 McLaughlin on Class Actions § 6:1 (update Dec. 2013) (“Because

 9    putative class members are not bound by any proceedings in a purported class
10
      action prior to a ruling on class certification, the new rule does not require that they
11

12    receive notice of a proposed dismissal of a putative class action.”).

13          7.     If this Court decides to review the settlement despite the Advisory
14
      Committee’s statement, the Court should approve it because all of the Diaz factors
15

16    are satisfied. Diaz v. Trust Territory of the Pac. Islands, 876 F.2d 1401, 1407 n.3

17    (9th Cir. 1989). No collusion or prejudice exists as a result of the dismissal of this
18
      action and therefore, notice to any potential putative class members should not be
19

20    required.
21          8.     First, pursuant to this Stipulation, the Parties seek dismissal of the
22
      individual plaintiff’s claims with prejudice, but seek dismissal of the putative class
23

24    claims without prejudice. Putative class members are free to assert their own claims
25    against Defendant should they choose to do so. The dismissal of the putative class
26
      claims without prejudice will not impact the class because they are not yet party to
27                                             3
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 1    the action or otherwise bound by the action.
 2
            9.       Second, there has not been any reliance on this action by any putative
 3

 4
      class member. Plaintiff is unaware of any publicity of the pendency of this action

 5    and is unaware of any reliance on this action by any putative class member.
 6
            10.      Third, there are no concerns that putative class members might be
 7

 8    prejudiced by any rapidly approaching statute of limitations. The allegations in the

 9    Complaint concern acts as recent as January 2019. The statute of limitations for the
10
      putative class claims is four years. Therefore, the dismissal of this action will not
11

12    prejudice potential putative class members in regards to any approaching statute of

13    limitations.
14
            11.      Fourth, the terms of the settlement are not collusive and Plaintiff has
15

16    not made any concession of class interests to further his own interests. Moreover,

17    Plaintiff pursued this putative class action in good faith and did not merely append
18
      class allegations in an attempt to get a favorable individual settlement. The
19

20    dismissal of the putative class claims without prejudice will not affect the rights of
21    putative class members such that notice is necessary. “The parties do not seek to
22
      dismiss the class claims with prejudice and, therefore, they are not impacting the
23

24    rights of potential class members.” Musgrave v. ICC/Marie Callender's Gourmet
25    Prods. Div., No. 3:14-cv-02006-HSG, 2015 U.S. Dist. LEXIS 172290, at *7 (N.D.
26
      Cal. Dec. 28, 2015), quoting Houston v. Cintas Corp., 2009 U.S. Dist. LEXIS
27                                            4
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 1    33704 at *6 (N.D. Cal. April 3, 2009); see Duran, 2020 U.S. Dist. LEXIS 244782,
 2
      at *6 (C.D. Cal. Dec. 30, 2020). Similarly, the class claims in this case are not
 3

 4
      being dismissed with prejudice. There has been absolutely no concession of class

 5    interests in resolving this action on an individual basis. As in Duran, Musgrave and
 6
      Houston, and consistent with the vast majority of cases in the same procedural
 7

 8    posture, no notice should be required because no concession of the class’s interests

 9    have been made.
10
            12.   Accordingly, as a result of this dismissal there is no prejudice to absent
11

12    members of a putative class, and therefore no notice is necessary to any putative

13    class members. The action should be dismissed (with prejudice as to Plaintiff’s
14
      individual claims, and without prejudice as to the putative class claims), each party
15

16    to bear their own costs and fees.

17          So Stipulated.
18

19                                           Respectfully submitted,
20    Dated: August 16, 2021                 /s/ Rachel E. Kaufman
                                             Rachel E. Kaufman
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 1                                           Attorneys for Plaintiff and the Proposed
 2
                                             Classes

 3
      Dated: August 16, 2021                 By: /s/ Stephen H. Turner
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 8
                                             Counsel for Defendant
 9

10
               ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4(2)(i)
11
            Pursuant to Local Rule 5-4.3.4(2)(i), I, Rachel Kaufman, attest that all other
12
      signatories listed and on whose behalf the filing is submitted concur in this filing’s
13
      content and have authorized this filing.
14

15                                       By: /s/ Rachel E. Kaufman
                                             Rachel E. Kaufman
16

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